    Case 10-93904-BHL-11          Doc 107   Filed 12/28/10   EOD 12/28/10 09:47:48       Pg 1 of 1




                             UNITED STATES BANKRUPTCY COURT                           S001013 (rev 11/2010)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                                Case Number:
       SSN: NA               EIN: NA                          10−93904−BHL−11
    Debtor(s)

                  ORDER FOR RELIEF IN AN INVOLUNTARY CASE AND
                          ORDER TO COMPLETE FILING

        An involuntary petition was filed against the debtor on December 6, 2010, by Petitioning
Creditors David L. Rings, Southeast Livestock Exchange LLC, Moseley Cattle Auction, LLC,
and et al. The Court, after reviewing this petition, finds that the relief requested under chapter 11
of title 11 of the U.S. Code is proper.

    IT IS THEREFORE ORDERED that the petition for an order for relief under chapter 11 is
GRANTED.

      IT IS FURTHER ORDERED that the debtor must file an Involuntary Creditor List by
January 4, 2011, and the Schedules and Statement of Affairs by January 11, 2011.
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